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DALLAS DIVISION
UNITED STATES OF AMERICA TO BE FILED UNDEF ea —_——
V. NO.
RUEL M. HAMILTON B-19CR-082-S
INDICTMENT
The Grand Jury Charges:
Introduction

At all times material to this indictment:

1. Defendant Ruel M. Hamilton (“Hamilton”) was a principal of
AmeriSouth Realty Group (“AmeriSouth”) and a real estate developer engaged in
developing low income and for-profit housing projects within the City of Dallas and
elsewhere.

2. From in or around November 2013 to in or around August 2018, Hamilton
engaged in a scheme to corruptly influence public officials related to Hamilton’s
business interests within the City of Dallas and to further Hamilton’s political objectives.

3. Carolyn Rena Davis was elected to the Dallas City Council District 7 in
2007, and re-elected to the same position in 2009, 2011, and 2013. During her tenure on
the City Council, Davis also served as Chair of the Dallas Housing Committee. Davis

was, as such, during all relevant times, an agent of the City of Dallas.
 

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4. Council Person A, an individual known to the grand jury, was at all
relevant times a member of the Dallas City Council, and as such, during all relevant
times, was an agent of the City of Dallas.

5. The City of Dallas was an incorporated unit of local government and a
political subdivision of the State of Texas that received benefits in excess of $10,000 in
each of the consecutive fiscal one-year periods beginning October 1, 2013, October 1,
2014, October 1, 2015, October 1, 2016, and October 1, 2017, under a Federal program
involving a grant, contract, subsidy, loan, guarantee, insurance, or other form of Federal
assistance.

6. In furtherance of Hamilton’s scheme to corruptly influence public officials,
from approximately November 2013 to approximately June 2015, Hamilton paid bribe
payments to Davis totaling at least $40,000 and promised Davis future employment as a
consultant in exchange for Davis’s official actions. Further, on or about August 3, 2018,
Hamilton made a $7,000 bribe payment to Council Person A in exchange for Council
Person A’s promise of favorable official action.

7. Specifically, Hamilton paid Davis to lobby for and vote in favor of one of
Hamilton’s housing projects within the City of Dallas, including the authorization of
City of Dallas funds and obligations in excess of $2.5 million. As the Chair of the
Housing Committee, Davis voted to support Texas Department of Housing and |
Community Affairs (TDHCA) tax-exempt bonds and 9% tax credits for Hamilton’s

project known as Royal Crest on February 2, 2015. Additionally, Davis moved the City

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Council to authorize the Dallas Housing Finance Corporation to make a development
loan to Hamilton’s project in the amount not to exceed $2,520,000 for Hamilton’s Royal
Crest project, and for the city’s nomination for the project to receive the 2015 9% low-
income housing tax credits through the TDHCA on February 25, 2015.

8. At the direction of Davis, and in order to disguise the bribe payments,
Hamilton wrote checks to a not-for-profit company owned by an individual known to the
Grand Jury (Person A). Person A, in turn, cashed Hamilton’s checks and generally
transferred the bribe payments to Davis as cash.

9. Hamilton also provided cash directly to Davis. On or about April 13,
2015, at approximately 4:16 p.m., Hamilton told Davis: “So, I know you wanted the rest
of the cash. I have a— probably half of it. I know I have over another thousand bucks
or we could do it tomorrow, so - .” Davis responded: “Well, it’s up to you.... We can
wait until tomorrow if you want to.”

10. Hamilton also received Davis’s support with another city official. On or
about April 23, 2015, at approximately 9:24 a.m., Davis told Hamilton that she
questioned a City of Dallas housing official known to the grand jury (Official X) about
the status of Hamilton’s project for 9% TDHCA funds which was tied in points with
another competing project. Davis told Hamilton that she told Official X to connect
Hamilton with a non-profit so that Hamilton’s project would get another point in the
scoring system, thereby surpassing the score of the other competing project. Hamilton

told Davis that he would be “disappointed” if his project did not get on TDHCA’s list of

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projects “they are seriously considering.” Hamilton told Davis he wanted her, and
possibly Council Person A, to lobby for his project before the TDHCA. Davis agreed to
lobby the project, in her official capacity, before the TDHCA in Austin, Texas.

11. In furtherance of Hamilton’s scheme to corruptly influence public officials,
on or about August 2, 2018, Hamilton initiated contact with Council Person A.
Hamilton urgently sought Council Person A’s official assistance in facilitating the late-
addition of a referendum item to be placed on the agenda of the next Dallas City Council —
meeting scheduled for August 8, 2018. Hamilton told Council Person A: “So I was told
that if there is anybody that could get the Mayor to put it on the agenda for the 8", that it
was Councilmember [Council Person A].” The item, if added on the agenda and passed
by the City Council, would have resulted in the placement of a referendum item on the
November 2018 general election.

12. Hamilton also sought future official action by Council Person A in relation
to a housing project that Hamilton desired to develop in the City of Dallas. Specifically,
Hamilton stated: “Before you leave office or whenever your last term is, we're going to
have stuff built down there on Eleventh Street. You just watch. I need you for that.

I'm saying is, I'm there, you know, and so if there is anything that I can help you with, I
mean, I hope you feel like you can reach out.”

13. Council Person A agreed to facilitate and promote the agenda item, and to
provide official assistance on the proposed housing project, in return for money to cover

his personal needs. When Council Person A asked for $6,200, Hamilton offered

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$6,500, which Council Person A accepted, and then Hamilton wrote a $7,000 check to
Council Person A. Hamilton further discussed with Council Person A how Hamilton
should characterize the purpose of the check, including: “What should I put down just for
posterity sake, down in here for, what should I say? All right. I just wrote something
down there just so ... some -- somebody ever asks, I can come up with some kind of

reference.”

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Count One
Bribery Concerning a Local Government Receiving Federal Benefits
(Violation of 18 U.S.C. § 666(a)(2))

14. The Grand Jury hereby adopts, re-alleges and incorporates herein all
allegations set forth in the Introduction of this indictment as if fully set forth herein.

15. From in or about November 2013 to in or about June 2015, in the Dallas
Division of the Northern District of Texas, defendant, Ruel M. Hamilton, corruptly
offered to give and did give something of value to Carolyn Rena Davis in connection
with a business, transaction, and series of transactions of the City of Dallas involving
anything of value of $5,000 or more, with intent to influence and reward Davis, an agent
of the City of Dallas, a local government that received benefits in excess of $10,000 in
each of the one-year periods beginning October 1, 2013 and October 1, 2014 under a
Federal program involving a grant, contract, subsidy, loan, guarantee, insurance, and |

other form of Federal assistance.

In violation of 18 U.S.C. § 666(a)(2).

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Count Two
Bribery Concerning a Local Government Receiving Federal Benefits
(Violation of 18 U.S.C. § 666(a)(2))

16. The Grand Jury hereby adopts, re-alleges and incorporates herein all
allegations set forth in the Introduction of this indictment as if fully set forth herein.

17. On or about August 3, 2018, in the Dallas Division of the Northern District
of Texas, defendant, Ruel M. Hamilton, corruptly offered to give and did give
something of value to Council Person A in connection with a business, transaction, and
series of transactions of the City of Dallas involving anything of value of $5,000 or more,
with intent to influence and reward Council Person A, an agent of the City of Dallas, a
local government that received benefits in excess of $10,000 in the one-year period
beginning October 1, 2017 under a Federal program involving a grant, contract, subsidy,

loan, guarantee, insurance, and other form of Federal assistance.

In violation of 18 U.S.C. § 666(a)(2).

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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

RUEL M. HAMILTON

 

INDICTMENT

18 U.S.C. § 666(a)(2)
Bribery Concerning a Local Government Receiving Federal Benefits

2 Counts

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Filed in open court this**"_ day of February, 2019.

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Uf STATES MAGISTRATE JUDGE
Na Criminal Matter Pendixg

 

 
